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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )            Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )


                  PLAINTIFFS’ MOTION FOR CLARIFICATION,
           OR IN THE ALTERNATIVE, MODIFICATION OF TRIAL ORDER

       Plaintiffs’ counsel have received requests from media organizations for copies of the

excerpted videotaped deposition of Secretary Kobach played at trial (the “Tape”) in the above

captioned matter. Plaintiffs “have a constitutionally protected right to disseminate” the Tape

because it was admitted publicly and played in open court. Oklahoma Hosp. Ass’n v. Oklahoma

Pub. Co., 748 F.2d 1421, 1424 (10th Cir. 1984). Defendant has filed a motion, ECF No. 560,

asserting that the Protective Order in this case prohibits Plaintiffs from producing the Tape to the

media, and citing portions of the trial transcript where the Court stated that the Tape would not

be retained as a judicial record. However, the Protective Order explicitly does not apply to trial

evidence and the Tape’s status as a judicial record does not affect a party’s right to disclose it

once admitted publicly at trial. Given the parties disagreement over statements made by the

Court, Plaintiffs respectfully seek clarification from the court as to the status of the Tape and

whether Plaintiffs may produce it in response to media requests. If Plaintiffs have misinterpreted

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the Court’s trial ruling as to the status of the Tape, Plaintiffs respectfully request that the Court

consider altering its initial ruling in light of case precedent upholding the right of a party to

disclose evidence admitted in open court at trial.

       Plaintiffs concurrently submit a Memorandum with arguments of authorities in response to

Defendant’s Motion to Enforce Protective Order and in support of Plaintiffs’ Motion for

Clarification, or in the Alternative, Modification, which are hereby incorporated within this Motion

by reference.

       WHEREFORE, Plaintiffs request that this Court find that Plaintiffs are permitted to

disclose the Tape in response to media requests.



Dated September 28, 2018.
Respectfully submitted,

/s/ Lauren Bonds                                   /s/ R. Orion Danjuma
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                                   CERTIFICATE OF SERVICE
        I, the undersigned, hereby certify that, on September 28, 2018, I electronically filed the

foregoing document using the CM/ECF system, which automatically sends notice and a copy of

the filing to all counsel of record.

                                              /s/ Lauren Bonds
                                              LAUREN BONDS (#27807)

                                              Attorney for Plaintiffs




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